        Case 1:99-cr-05344-DAD Document 251 Filed 05/24/06 Page 1 of 2


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Anthony W. Ishii
United States District Judge
Fresno, California

                                         RE:    Armando GONZALEZ-MEDINA
                                                Docket Number: 1:99CR05344-04
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Matzalan, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On April 30, 2001, Armando Gonzalez-Medina was
sentenced for the offense(s) of 21 USC 841(d)(2), 846 - Attempted Possession of a Listed
Chemical Knowing that it Would be Used to Manufacture Methamphetamine.


Sentence imposed: 57 months BOP; 36 months TSR; $100 special assessment.


Dates and Mode of Travel: Leaving June 14, 2006, and returning June 27, 2006.
Traveling by personal vehicle, 2002 white Chevy Tahoe, license #4VZC152.


Purpose: Traveling with wife, son, and his parents for family vacation.




                                                                                     Rev. 03/2005
                                            1                                  T R A V E L O C .M R G
         Case 1:99-cr-05344-DAD Document 251 Filed 05/24/06 Page 2 of 2


RE:   Armando GONZALEZ-MEDINA
      Docket Number: 1:99CR05344-04
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                  Respectfully Submitted,

                                  /s/ Thomas A. Burgess

                                 THOMAS A. BURGESS
                          Senior United States Probation Officer

DATED:        May 22, 2006
              Bakersfield, California
              TAB:dk

                             /s/ Rick C. Louviere
REVIEWED BY:
                     RICK C. LOUVIERE
                     Supervising United States Probation Officer



ORDER OF THE COURT:

Approved            W                               Disapproved


IT IS SO ORDERED.

Dated:     May 23, 2006                          /s/ Anthony W. Ishii
0m8i78                                     UNITED STATES DISTRICT JUDGE




                                                                                Rev. 03/2005
                                               2                          T R A V E L O C .M R G
